
989 A.2d 1277 (2010)
William SMITH; Gregory Thomas; Hugh Williams; Gary Kretchmar
v.
COMMONWEALTH of Pennsylvania; Edward G. Rendell, in His Official Capacity as Governor of the Commonwealth of Pennsylvania; Tom Corbett, Attorney General of the Commonwealth of Pennsylvania; Pennsylvania Board of Pardons.
Appeal of George Trudel, Peter Hogan, Jonathan Margoles, Gerald Teagle, Jeffrey Branch, Earnest J. Burton, Jr., Stan Rosenthal, Hubert F. Blount, Bobby E. Brightwell, Michael Moore, Jesse Tancemore, William Melson, Jerome Boyd, Larry Stephenson, Kenneth McIntyre, Antonio Mazzccua, Lonnie Johnson, John Hall, Bernard Lane, Brian Wallace, Jesse Faust, Wilfeld Patterson, Lawrence Holz, James Everett, III, Roy Holloway, David Lennitt, Jr., Robert Rigler, Stuart Szczesniewski, Aaron Wheeler, Charmaine Pfender, Stanley Brown, Wilmer Gay, Thomas Robinson, Possible Intervenors.
Nos. 14-44 MAP 2009, 46 MAP 2009 &amp; 47 MAP 2009
Supreme Court of Pennsylvania.
March 24, 2010.

ORDER
PER CURIAM.
AND NOW, this 24th day of March, 2010, the Order of the Commonwealth Court is affirmed.
